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DISTRICT OF OREGON, ss:               AFFIDAVIT OF HILARY A. RICKHER

                             Affidavit in Support of an Application
                             Under Rule 41 for a Search Warrant

       I, Hilary A. Rickher, being duly sworn, do hereby depose and state as follows:

                           Introduction and Agent Background

       1.      I am a Special Agent with the U.S. Food and Drug Administration – Office of

Criminal Investigations (FDA-OCI) and have been since September 2010. My current

assignment includes conducting criminal investigations involving violations of the Federal Food,

Drug and Cosmetics Act (21 U.S.C. §§ 301 et seq.) and other related federal crimes. Prior to

my employment with FDA-OCI, I was a Postal Inspector with the United States Postal

Inspection Service (USPIS), beginning in 2005. Prior to my employment with the USPIS, I was

a Senior Patrol Agent with the United States Border Patrol, beginning in 2002. During my more

than 17 years as a federal agent, I have conducted and/or participated in numerous criminal

investigations involving violations of the federal mail fraud statute, drug and device distribution

and importation violations, device adulteration violations, device misbranding violations, and

other federal crimes. Specifically, I successfully completed the FDA-OCI Special Agent

Training course in Charleston, South Carolina where I completed 120 hours of course work in

FDA law and FDA-OCI investigations. I have also completed a 40-hour legal course regarding

the Federal Food, Drug and Cosmetic Act. Additionally, I have participated in many aspects of

drug investigations, including conducting physical surveillance, writing and executing search

warrants, seizure warrants, and making arrests.

       2.      I submit this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a warrant to search the premises located at

                       Portland, Oregon 97214 (hereinafter “Premises”), as described in
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Attachment A hereto, for evidence, contraband, fruits, and instrumentalities of violations of 21

U.S.C. § 331(a) and (c). As set forth below, I have probable cause to believe that such property

and items, as described in Attachment B hereto, including any digital devices or electronic

storage media, are currently located at the Premises.

       3.      This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter. The facts

set forth in this affidavit are based on my own personal knowledge, knowledge obtained from

other individuals during my participation in this investigation, including other law enforcement

officers, interviews of witnesses, a review of records related to this investigation,

communications with others who have knowledge of the events and circumstances described

herein, and information gained through my training and experience.

                                          Applicable Law

                            The Federal Food Drug and Cosmetic Act

       4.      The United States Food and Drug Administration (FDA) is the federal agency

charged with the responsibility of protecting the health and safety of the American public by

enforcing the Food, Drug and Cosmetic Act (FDCA), 21 U.S.C. § 301 et sec. Among the

purposes of the FDCA is to ensure that medical products, including drugs, biologics, and

devices, sold for consumption by or administration to humans, or for other use by or on humans,

are safe, effective, bear labeling containing only true and accurate information, and have

adequate directions for use. The FDA’s responsibilities under the FDCA include regulating the

manufacture, labeling, and distribution of all drugs, biologics, and medical devices shipped or

received in interstate commerce.



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       5.      Under the FDCA, the term “label” is defined as a display of written, printed, or

graphic matter upon the immediate container of any article, including devices. 21 U.S.C. §

321(k). “Labeling” is a broader term, and is defined as all labels and other printed or graphic

matter upon any article, including devices, or any of its containers or wrappers, or accompanying

such articles. 21 U.S.C. § 321(m).

       6.      Under the FDCA, a “device” is, among other things, an instrument, apparatus,

implement, machine, contrivance, implant, in vitro reagent, or other similar or related article

intended for use in the diagnosis, cure, mitigation, treatment, or prevention of disease in man or

other animals; or intended to affect the structure or any function of the body of man or other

animals; and which does not achieve its primary intended purposes through chemical action

within or on the body of man or other animals and which is not dependent upon being

metabolized for the achievement of its primary intended purposes. 21 U.S.C. § 321(h).

       7.      Medical devices are classified into one of three categories, Class I, II, or III.

Class III devices are those for which neither general nor special controls would provide a

reasonable assurance of safety and effectiveness and those that are intended for use in supporting

or sustaining life, are of substantial importance in preventing impairment of health, or present a

potential unreasonable risk of illness or injury. 21 U.S.C. § 360c(a)(1)(C). Examples of Class

III devices include pacemaker programmers, ventricular bypass devices, intraocular pressure

measuring devices, and in vitro diagnostics, including antibody tests. 21 C.F.R. §§ 870.3700,

870.3545, 886.4280, 878.3540.

       8.      There is a second category of Class III devices. With the exception of certain

devices that are exempt (by statute or regulation) from any premarket review, all "new" devices

(those which were not in existence when the device amendments were passed in 1976) that come

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on the market are automatically classified into Class III as a matter of law. 21 U.S.C.

§§ 360c(f)(1). In order to change that de facto status, a sponsor would need to obtain FDA’s

determination that the device can be marketed as a Class I or II device. In any circumstance, all

non-exempt devices require either pre-market approval (PMA), clearance (via 510(k)), or the

granting of a de novo application for reclassification by FDA before being marketed. 1

         9.      In vitro diagnostic products (IVDs) are those reagents, instruments, and systems

intended for use in diagnosis of disease or other conditions, including a determination of the state

of health, in order to cure, mitigate, treat, or prevent disease or its sequelae. Such products are

intended for use in the collection, preparation, and examination of specimens taken from the

human body. 21 C.F.R. § 809.3. IVDs are medical devices as defined at 21 U.S.C. § 321(h) and

are subject to premarket and postmarket controls.

         10.     A prescription device is a device that, because of its potential for harmful effects,

methods of use, or the collateral measures necessary to its use, is not safe for use except under

the supervision of a practitioner licensed by law to direct the use of such device. 21 C.F.R. §

801.109.

         11.     Under the FDCA, a device is deemed to be misbranded unless its labeling bears

adequate directions for use. 21 U.S.C. § 352(f)(1). In turn, “adequate directions for use” is

defined as directions under which a layman can safely use a device for its intended uses. 21

C.F.R. § 801.5. By their very nature, prescription devices are safe for use only under the

supervision of a licensed practitioner. 21 C.F.R. § 801.109. Because adequate directions for

use cannot be written for prescription devices, they are misbranded under 21 U.S.C. § 352(f)(1).



1
    21 U.S.C. § 360c(f)(2).

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          12.     To allow for their lawful movement in interstate commerce, approved, cleared, or

reclassified prescription devices are exempt from the adequate-directions-for-use requirement,

but only if they meet certain conditions. See 21 C.F.R. § 801.109. One such condition requires

that the device be in the possession of a person, or his agents or employees, regularly and

lawfully engaged in the manufacture, transportation, storage, or wholesale or retail distribution

of such device. 21 C.F.R. § 801.109(a)(1)(i).

          13.     Under the FDCA, a device is also misbranded if, among other things:

                  •      its labeling is false or misleading in any particular way (21 U.S.C. 352(a));

                  •      if its labeling fails to bear information required under the FDCA, and if

                         this required information is not in the English language (21 U.S.C. §

                         352(c); 21 C.F.R. § 201.15(c)(1)); or

                  •      the notice or other information respecting the device was not provided as

                         required under section 510(k) of the FDCA (21 U.S.C § 360(k)) (21

                         U.S.C. § 352(o)).

          14.     A device is adulterated if, among other things, it is a Class III device, pursuant to

21 U.S.C. § 360c(f), was required under 21 U.S.C. § 360e(a) to have in effect an approved Pre-

Market Application for Approval, and does not have such an approval in effect. 21 U.S.C §

351(f).

          15.     The doing or causing of the following acts are prohibited:

                  •      The introduction into interstate commerce of an adulterated or misbranded

                         device (21 U.S.C. § 331(a)); and




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                 •      The receipt in interstate commerce of devices that are misbranded or

                        adulterated, and the delivery or proffered delivery thereof for pay or

                        otherwise (21 U.S.C. § 331(c)).

         16.     Violations of 21 U.S.C. § 331 can be misdemeanors or felonies, depending on the

circumstances. Violations done with an intent to defraud or to mislead consumers, regulators, or

law enforcement are felonies. They carry a maximum penalty of up to three years in prison, and

fines of up to $250,000 for individuals or $500,000 for corporations. If any person derives

pecuniary gain from the offense, or if the offense results in pecuniary loss to a person other than

the defendant, the defendant, whether an individual or a corporation, may be fined not more than

the greater of twice the gross gain or twice the gross loss. 21 U.S.C. § 333(a); 18 U.S.C. §

3571.

                                  Statement of Probable Cause 2

         17.     In January 2020, the Secretary of Health and Human Services declared a public

health emergency under section 319 of the Public Health Service Act (42 U.S.C. 247d), in

response to SARS-CoV-2, more commonly known as COVID-19 and/or the Coronavirus

(COVID-19). On March 13, 2020, the President of the United States declared a national



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   Based on my training and experience, I use the following technical terms to convey the
following meanings:

        a.      Internet. The Internet is a global network of digital devices that communicate
with each other. Due to the structure of the Internet, connections between devices on the
Internet often cross state and international borders, even when the devices communicating with
each other are in the same state.

       b.     Storage medium. A storage medium is any physical object upon which data can
be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and
other magnetic or optical media.

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emergency to address the growing COVID-19 threat to our national security and well-being. On

March 20, 2020, the U.S. Attorney for the District of Oregon, Billy J. Williams, issued a public

statement to the media warning of the dangers of fraud schemes by those wishing to exploit the

Coronavirus. U.S. Attorney William’s press release was based on information provided by

organizations such as the Federal Bureau of Investigation (FBI), the U.S. Federal Trade

Commission (FTC) and InterPol. These scams include testing and treatment scams that utilize

testing kits that are not cleared or approved by the FDA for use and may give false or unreliable

results. As the FTC stated in their February 20, 2020, press release titled Scammer Follow the

Headlines, “Scammers are taking advantage of fears surrounding the Coronavirus. They’re

setting up websites to sell bogus products, and using fake emails, texts, and social media posts as

a ruse to take your money and get your personal information.”

       18.     On February 4, 2020, the Secretary of Health and Human Services (HHS)

determined that there was a public health emergency and that circumstances existed to justify the

authorization of emergency use of in vitro diagnostics for detection and/or diagnosis of

COVID-19. Rapid detection of COVID-19 cases in the United States required wide availability

of diagnostic testing to control the emergence of this rapidly spreading, severe illness.

       19.     On February 29, 2020, the FDA issued a guidance, entitled “Policy for Diagnostic

Tests for Coronavirus Disease -2019 during the Public Health Emergency, Immediately in Effect

Guidance for Clinical Laboratories, Commercial Manufacturers, and Food and Drug

Administration Staff, March 2020,” describing a policy for laboratories and commercial

manufacturers to help accelerate the use of tests they develop in order to achieve more rapid and

widespread testing capacity in the United States. The guidance described two policies for

accelerating the development of certain laboratory tests for COVID-19 – one leading to an

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Emergency Use Authorization (EUA) submission to FDA, and the other not leading to an EUA

submission when the test is developed under the authorities of the State in which the lab resides

and the State takes responsibility for COVID-19 testing by laboratories in its State. In addition,

this guidance described a policy for commercial manufacturers to more rapidly distribute their

COVID-19 diagnostics to laboratories for specimen testing after validation while an EUA is

being prepared for submission to FDA. Finally, this guidance also described a policy regarding

the use of serological testing without an EUA. This guidance was updated on March 16, 2020.

Notably, the emergency use guidance expressly excluded any home testing kits offered for direct

sale to and use by consumers from the enforcement discretion articulated.

       20.     On March 18, 2020, U.S. Customs and Border Protection (CBP) Officer Hughes,

exercising customs authorities, examined a package with air way bill (AWB) #510 2908 0501,

which was manifested as “Papid (sic) Test Kit”, entering into the United States from China at the

FedEx International Mail Facility in Memphis, Tennessee. Officer Hughes observed that the

shipment contained four white boxes, each labeled as “COVID-19 (SARS-CoV-2) Antibody Test

Kit (Colloidal Gold)”. Each box contained 25 individual kits, for a total of 100 test kits.

Officer Hughes reviewed the shipment records and was unable to locate any FDA licenses

having been filed with the shipment. After consultation with the FDA, the package was seized

as an item prohibited from entering the United States. Below are photographs of the labeling of

the product found in the parcel with AWB # 510 2908 0501:

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       21.     The shipment labeled with AWB #510 2908 0501 showed a consignee of

      at the Premises. An invoice that was seized as part of the shipping documents included in

the package also listed the purchaser as            at the Premises.




       22.     On March 20, 2020, Homeland Security Investigations (HSI) SA Glenn Dimmick

conducted queries of law enforcement databases related to the seized shipment. A review of


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Oregon Department of Motor Vehicles located records for                      with Oregon driver’s

license             with an address of the Premises.

          23.   On March 20, 2020, Officer Oldham, with the Portland Police Bureau, conducted

a physical address check of the Premises. Officer Oldham was unable to enter the building due

to building access controls. However, Officer Oldham reviewed the publicly accessible tenant

roster and observed that a              was listed as a tenant in the electronic call box.

          24.   On March 20, 2020, HSI SA Thomas Duffy reviewed the invoice included in

package with AWB #510 2908 0501 and observed that the unit price was listed as $.50 per unit

with a total cost of $50.00 for the 100 units. On March 23, 2020, SA Duffy spoke with a

licensed medical doctor currently serving as the COVID-19 Physician Incident Commander for a

major Portland, Oregon, area hospital. As the medical doctor explained, there are a wide variety

of testing processes and costs can vary due to a litany of factors. However, the lowest level cost

for a COVID-19 swab test is at least $1,000 through certain private insurers and would require

the use of an FDA-approved lab test center at additional costs. According to the COVID-19

Physician Incident Commander, “50 cents is ridiculous even for a swab. But for a test to actually

give a result itself it’s a preposterous cost.”

          25.   On March 21, 2020, I reviewed the Oregon Medical Board online public license

search, and                is not a licensed medical doctor in the state of Oregon. I also reviewed

the Oregon State Board of Nursing online public license search, and                     is not a

registered nurse or nurse practitioner in the state of Oregon. I also reviewed the Oregon Board

of Pharmacy online public license search, and                   is not a licensed pharmacist or

pharmacy in the state of Oregon.



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       26.      On March 23, 2020, SA Duffy reviewed the State of Oregon’s Secretary of State

Corporate Division’s public website. SA Duffy located a business registry for

                                             The articles of incorporation were filed on

       The article of incorporation lists               as the organizer, person with direct

knowledge, and the registered agent. The articles list the Premises as the mailing address and as

the principle place of business. SA Duffy conducted queries of law enforcement and public

databases/websites and was unable to locate any website for                            or find any

type of information on                            business activity. There is no type of business

listed in the articles of incorporation or in the registry. Additionally, investigating agents have

found no online presence of the company including a website, online reviews, or social media

presence.

       27.      Previously, on March 20, 2020, SA Thomas Duffy reviewed the invoice included

in the package with AWB #510 2908 0501 and observed that the phone number on the invoice

was listed as                  SA Duffy conducted an open source internet search for the phone

number and found that the area code         is used for the Houston, Texas, area. Additionally, SA

Duffy was unable to locate any information showing that the phone number was linked to

or                        . SA Duffy dialed phone number                     from his government

issued phone. SA Duffy noted that no one answered, and the call was directed to an automated

voicemail box that did not indicate the name of the person or business that utilized the phone

number. During SA Duffy’s review of law enforcement databases related to              , SA Duffy

was not able to locate any records showing that         had ever resided in Texas. Further,

        2017 U.S. passport application listed a different personal phone number with a 503-area

code. Based on my training and experience, legitimate businesses will use a call answering

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service that list their name and general business information, such as business hours or a

company directory.

        28.     On March 23, 2020, SA Duffy reviewed                      public profile on the

website LinkedIn.          listed that he was the Senior Vice-President of Supply Chain for

                      a cannabis oil company. SA Duffy reviewed the State of Oregon’s

Secretary of State Corporate Division’s public website and found records that

          was a registered company from                until the company failed to renew its

business license in                      Law enforcement databases show that prior to his

employment with                                      was employed at a car dealership.

        29.     SA Duffy reviewed Department of Homeland Security (DHS) databases for items

being imported to the Premises. DHS records show that since January 1, 2020,             was the

consignee for the only two other packages being imported to that address. Both of those

shipments occurred in January 2020 and were listed as clothes, which were shipped from a

different company than the company that shipped the package with AWB #510 2908 0501.

        30.     On March 23, 2020, SA Duffy conducted a physical address check of the

Premises. SA Duffy entered the lobby and observed that the address was a residential apartment

building. SA Duffy observed that                     appeared to be a residential address. SA

Duffy noted that there were no signs or indicators that                 housed a business,

particularly,                       .

        31.     I have reviewed the labeling of the product found in the parcel with AWB #510

2908 0501. The labeling for “COVID-19 (SARS-CoV-2) Antibody Test Kit (Colloidal Gold)”

lists Anhui DeepBlue Medical Technology Co. Ltd of Hebei, China, as the manufacturer. I have



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reviewed the public online database for approved and cleared medical devices, and there is no

record that this medical device is approved or cleared by the FDA.

        32.     I reviewed the package insert that accompanied the medical devices. The

intended use is listed as, “COVID-19 (SARS-CoV-2) 1gG/1gM Test is used for qualitative

detection of novel coronavirus 1gG/1gM antibodies in human serum, plasma and whole blood.

After injection with the novel coronavirus…” In further examination of the package insert,

there are various spelling and grammatical errors in the document.

        33.     I reviewed the Twitter account for Chin Xinhau News and saw the product with

similar labeling as the product previously described. Although the labeling in the tweet is in

Chinese, the labeling has the same logo as the product at issue, in the upper right corner of the

box with a dolphin and the name, “DeepBlue.” The tweet states, “15 minutes! New rapid test

strips for #coronavirus have been developed by a company in Hefei, China. #FightVirus.” The

video in the tweet depicts a draw of blood from a finger pin prick. The drop of blood is then

placed on a test strip.




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The video states, “[t]he test strip has been proven to be effective after clinical tests.” The video

further states, “[t]he company said the test strip may be available on the Chinese market soon.”

The comments on this tweet indicate the test kits efficacy is not known and unproven:




I know from my training and experience that marketers of unapproved products take advantage

of vulnerable patients with promises that are unfounded.

       34.     On March 23, 2020, I requested a review of the product and labeling by FDA’s

Center for Devices and Radiological Health (CDRH), the entity that regulates, approves, and

clears medical devices. Dr. Leroy Hwang, Ph.D., Lead Consumer Safety Officer, Division of

Microbiology Devices, CDRH, FDA, stated, “The test kits in the photos do NOT (his emphasis)

have PMA or 510(k) clearance.”

       35.     I asked Dr. Hwang to describe, for background, how a legitimate antibody test kit

works, as the product at issue is labeled, in part, “Antibody Test Kit.” Dr. Hwang responded,

“These tests are for the detection of human antibody response (IgG/IgM) to the COVID-19

virus. The antibody test kits are often used to identify if an individual has circulating antibodies

against a pathogen, which can be an indicator of either active (IgM) or previous (IgG) infection




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by the pathogen. However, in the case of COVID-19 virus, it has yet to be established what

correlation there is between different antibody levels and infection status of the individual.”

       36.     Dr. Hwang confirmed that the test kits labeled, “COVID-19 (SARS-CoV-2)

Antibody Test Kit (Colloidal Gold)” do not have PMA or clearance. These types of devices

would require one or the other. Therefore, the test kits are unapproved/uncleared medical

devices. However, in light of the pandemic, the FDA has issued the previously described

guidance document. The guidance document discusses that circumstances exist justifying the

authorization of emergency use of in vitro diagnostics for detection and/or diagnosis of COVID-

19. Dr. Hwang stated these test kits could possibly fall under the emergency use authorization

(EUA). Dr. Hwang provided me with a copy of the guidance document, which states in

pertinent part, “The policy…applies to commercial manufacturers that seek to develop and

distribute diagnostic test kits to detect the SARS-CoV-2 virus to clinical laboratories or to

healthcare workers for point-of-care testing. This policy does not apply to at home testing.”

Dr. Hwang further stated, “There are currently no approved, cleared, or EUA authorized

COVID-19 test kits for at-home use. If these kits are marketed for home use or distributed for

home use, they are in violation, as the current Coronavirus IVD EUA guidance explicitly states

that the policies allowing distribution without an EUA does NOT (his emphasis) apply to at

home testing.” A review law enforcement, business registry, and FDA databases shows no

record of       owning, operating, or acting in any capacity as a manufacturer of medical

products.

       37.     Additionally, they lack adequate directions for use by a lay person, in that the test

kits are prescription medical devices and require the expertise of medical practitioner to



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administer the test, interpret the results, and importantly, provide the treatment to the tested

subject. As such, the test kits are misbranded.

        38.     Dr. Hwang further stated, “At home testing use of non-EUA serology tests have

potential for public health risk. If a test provides a false-negative result, an infected individual

may be a risk to expose others to the disease. If a test provides a false-positive result, the

individual may take actions that may cause additional burden on the healthcare system of

handling a non-COVID-19 individual as being potentially infected and also may pose a risk to

exposure events to themselves if they are quarantined with infected individuals due to the

incorrect false positive test result.”

        39.     As previously stated,        is not a licensed medical professional, nor is there any

indication he owns, operates or is employed by a clinical lab. In addition, Dr. Hwang told me

that he found no record of         registering with the FDA.

        40.     Dr. Hwang verified that Anhui DeepBlue Medical Technology Co., Ltd. of Hefei,

China, is registered with the FDA as a “Contract Manufacturer; Manufacturer.” To his

knowledge, the company does not hold any PMA or cleared devices.

        41.     I have also reviewed the Clinical Laboratory Improvement Amendments (CLIA)

Laboratory Search tool and found no record of any CLIA certified labs at the Premises. CLIA

are federal regulatory standards that apply to all clinical laboratory testing performed on humans

in the United States. CLIA Program sets standards and issues certificates for clinical laboratory

testing. CLIA defines a clinical laboratory as any facility which performs laboratory testing

on specimens derived from humans for the purpose of providing information for the

diagnosis, prevention, or treatment of disease. An objective of the CLIA is to ensure the

accuracy, reliability and timeliness of test results regardless of where the test was performed.

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       42.     As described above and in Attachment B, this application seeks permission to

search for records that might be found on the Premises, in whatever form they are found. One

form in which the records will likely be found is data stored on a computer’s hard drive, on other

storage media, or other digital devices, including cell phones (hereinafter collectively referred to

as digital devices). Thus, the warrant applied for would authorize the seizure of electronic

storage media or the copying of electronically stored information, all under Rule 41(e)(2)(B).

       43.     There is probable cause to believe, and I do believe, that records will be stored on

a digital device because, based on my knowledge, training, and experience, I know:

               a.      Computer files or remnants of such files can be recovered months or even

       years after they have been downloaded onto a digital device, deleted, or viewed via the

       Internet. Electronic files downloaded to a digital device can be stored for years at little

       or no cost. Even when files have been deleted, they can be recovered months or years

       later using forensic tools. When a person “deletes” a file on a digital device, the data

       contained in the file does not actually disappear; rather, that data remains on the digital

       device until it is overwritten by new data. Therefore, deleted files or remnants of deleted

       files, may reside in free space or slack space—that is, in space on the digital device that is

       not currently being used by an active file—for long periods of time before they are

       overwritten. In addition, a digital device’s operating system may also keep a record of

       deleted data in a “swap” or “recovery” file.

               b.      Wholly apart from user-generated files, digital devices—in particular,

       internal hard drives—contain electronic evidence of how a digital device has been used,

       what it has been used for, and who has used it. To give a few examples, this forensic

       evidence can take the form of operating system configurations, artifacts from operating

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       system or application operation, file system data structures, and virtual memory “swap”

       or paging files. Digital device users typically do not erase or delete this evidence,

       because special software is typically required for that task. However, it is technically

       possible to delete this information.

               c.      Similarly, files that have been viewed via the Internet are sometimes

       automatically downloaded into a temporary Internet directory or “cache.”

               d.      I know individuals use their digital devices to search for and purchase

       items, including prohibited items and contraband. On March 23, 2020, I searched for

       Anhui DeepBlue Medical COVID-19 test kits and found they were available online at

       dbluemedical.com. In addition, Anhui DeepBlue Medical has a storefront at the

       ecommerce website Alibaba.com. Purchases can be made from these websites using a

       smartphone, tablet or computer with internet access. Based on the facts of this

       investigation, specifically that these test kits are available online and were shipped from

       China, I am aware that digital devices were likely used to generate, store, and print

       documents used in the purchase of misbranded medical devices. Thus, there is reason to

       believe that there is a digital device currently located on the Premises.

       44.     As further described in Attachment B, this application seeks permission to locate

not only computer files that might serve as direct evidence of the crimes described on the warrant

but also for forensic electronic evidence that establishes how digital devices were used, the

purpose of their use, who used them, and when. There is probable cause to believe that this

forensic electronic evidence will be on any digital device in the Premises, because, based on my

knowledge, training, and experience, I know:



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            a.      Data on the digital device can provide evidence of a file that was once on

     the digital device but has since been deleted or edited, or of a deleted portion of a file

     (such as a paragraph that has been deleted from a word processing file). Virtual memory

     paging systems can leave traces of information on the storage medium that show what

     tasks and processes were recently active. Web browsers, email programs, and chat

     programs store configuration information on the digital device that can reveal

     information such as online nicknames and passwords. Operating systems can record

     additional information, such as the attachment of peripherals, the attachment of USB

     flash storage devices or other external storage media, and the times the digital device was

     in use. Computer file systems can record information about the dates files were created

     and the sequence in which they were created.

            b.      Forensic evidence on a digital device can also indicate who has used or

     controlled it. This “user attribution” evidence is analogous to the search for “indicia of

     occupancy” while executing a search warrant at a residence. For example, registry

     information, configuration files, user profiles, email, email address books, “chat,” instant

     messaging logs, photographs, the presence or absence of malware, and correspondence

     (and the data associated with the foregoing, such as file creation and last-accessed dates)

     may be evidence of who used or controlled the digital device at a relevant time. Further,

     forensic evidence on a digital device can show how and when it was accessed or used.

     Such “timeline” information allows the forensic analyst and investigators to understand

     the chronological context of access to the digital device, its use, and events relating to the

     offense under investigation. This “timeline” information may tend to either inculpate or

     exculpate the user of the digital device. Last, forensic evidence on a digital device may

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     provide relevant insight into the user’s state of mind as it relates to the offense under

     investigation. For example, information on a digital device may indicate the user’s

     motive and intent to commit a crime (e.g., relevant web searches occurring before a crime

     indicating a plan to commit the same), consciousness of guilt (e.g., running a “wiping

     program” to destroy evidence on the digital device or password protecting or encrypting

     such evidence in an effort to conceal it from law enforcement), or knowledge that certain

     information is stored on a digital device (e.g., logs indicating that the incriminating

     information was accessed with a particular program).

            c.      A person with appropriate familiarity with how a digital device works can,

     after examining this forensic evidence in its proper context, draw conclusions about how

     digital devices were used, the purpose of their use, who used them, and when.

            d.      The process of identifying the exact files, blocks, registry entries, logs, or

     other forms of forensic evidence on a digital device that are necessary to draw an

     accurate conclusion is a dynamic process. While it is possible to specify in advance the

     records to be sought, electronic evidence is not always data that can be merely reviewed

     by a review team and passed along to investigators. Whether data stored on a digital

     device is evidence may depend on other information stored on the digital device and the

     application of knowledge about how a digital device behaves. Therefore, contextual

     information necessary to understand other evidence also falls within the scope of the

     warrant.

            e.      Further, in finding evidence of how a digital device was used, the purpose

     of its use, who used it, and when, sometimes it is necessary to establish that a particular

     thing is not present on a digital device. For example, the presence or absence of counter-

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       forensic programs or anti-virus programs (and associated data) may be relevant to

       establishing the user’s intent.

       45.     In most cases, a thorough search of the Premises for information that might be

stored on a digital device often requires the seizure of the device and a later, off-site review

consistent with the warrant. In lieu of removing a digital device from the Premises, it is

sometimes possible to image or copy it. Generally speaking, imaging is the taking of a

complete electronic picture of the digital device’s data, including all hidden sectors and deleted

files. Either seizure or imaging is often necessary to ensure the accuracy and completeness of

data recorded on the digital device and to prevent the loss of the data either from accidental or

intentional destruction. This is true because:

               a.      As noted above, not all evidence takes the form of documents and files

       that can be easily viewed on site. Analyzing evidence of how a digital device has been

       used, what it has been used for, and who has used it requires considerable time, and

       taking that much time on premises could be unreasonable. As explained above, because

       the warrant calls for forensic electronic evidence, it is exceedingly likely that it will be

       necessary to thoroughly examine digital devices to obtain evidence. Digital devices can

       store a large volume of information. Reviewing that information for things described in

       the warrant can take weeks or months, depending on the volume of data stored, and

       would be impractical and invasive to attempt on-site.

               b.      Records sought under this warrant could be stored in a variety of formats

       that may require off-site reviewing with specialized forensic tools. Similarly, digital

       devices can be configured in several different ways, featuring a variety of different

       operating systems, application software, and configurations. Therefore, searching them

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       sometimes requires tools or knowledge that might not be present on the search site. The

       vast array of hardware and software available makes it difficult to know before a search

       what tools or knowledge will be required to analyze the system and its data on the

       Premises. However, taking the digital device off-site and reviewing it in a controlled

       environment will allow its examination with the proper tools and knowledge.

       46.     Nature of the examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant for which I apply would permit seizing, imaging, or otherwise copying

digital devices that reasonably appear to contain some or all of the evidence described in the

warrant and would authorize a later review of the device or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-

assisted scans of the entire device, that might expose many parts of a hard drive to human

inspection in order to determine whether it is evidence described by the warrant.

       47.     The initial examination of the digital device will be performed within a reasonable

amount of time not to exceed 120 days from the date of execution of the warrant. If the

government needs additional time to conduct this review, it may seek an extension of the time

period from the Court within the original 120-day period from the date of execution of the

warrant. The government shall complete this review within 180 days of the date of execution of

the warrant. If the government needs additional time to complete this review, it may seek an

extension of the time period from the Court.

       48.     If, at the conclusion of the examination, law enforcement personnel determine

that particular files or file folders on the digital device do not contain any data falling within the

scope of the warrant, they will not search or examine those files or folders further without

authorization from the Court. Law enforcement personnel may continue to examine files or data

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falling within the purview of the warrant, as well as data within the operating system, file

system, software application, etc., relating to files or data that fall within the scope of the

warrant, through the conclusion of the case.

        49.     If an examination is conducted, and the digital device does not contain any data

falling within the ambit of the warrant, the government will return the digital device to its owner

within a reasonable period of time following the search and will seal any image of the digital

device, absent further authorization from the Court.

        50.     The government may retain the digital device as evidence, fruits, contraband, or

an instrumentality of a crime or to commence forfeiture proceedings against the digital device

and/or the data contained therein.

        51.     The government will retain a forensic image of the digital device for a number of

reasons, including proving the authenticity of evidence to be used at trial, responding to

questions regarding the corruption of data, establishing the chain of custody of data, refuting

claims of fabricating, tampering, or destroying data, and addressing potential exculpatory

evidence claims where, for example, a defendant claims that the government avoided its

obligations by destroying data or returning it to a third party.

                                             Conclusion

        52.     Based on the foregoing, I have probable cause to believe that

committed the unlawful act of the introduction into interstate commerce a misbranded device and

received in interstate commerce a misbranded medical device in violation of 21 U.S.C. § 331(a)

and (c) and that evidence of those offenses, as described above and in Attachment B hereto, are

presently located at the Premises, which is described above and in Attachment A hereto. I

therefore request that the Court issue a warrant authorizing a search of the Premises described in

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Attachment A for the items listed in Attachment B and the seizure and examination of any such

items found.

       53.     Prior to being submitted to the Court, this affidavit, the accompanying

application, and the requested search warrant were all reviewed by Assistant United States

Attorney (AUSA) Scott E. Bradford, and AUSA Bradford advised me that in his opinion the

affidavit and application are legally and factually sufficient to establish probable cause to support

the issuance of the requested warrant.

                                         Request for Sealing

       54.     It is respectfully requested that the Court issue an order sealing, until further order

of the Court, all papers submitted in support of the requested search warrant, including the

application, this affidavit, the attachments, and the requested search warrant. I believe that

sealing these documents is necessary because the information to be seized is relevant to an

ongoing investigation, and any disclosure of the information at this time may result in the

tampering of evidence or otherwise seriously jeopardize the investigation. Premature disclosure

of the contents of the application, this affidavit, the attachments, and the requested search

warrant may adversely affect the integrity of the investigation.

                                                      By phone                      .
                                                      Hilary A. Rickher
                                                      Special Agent
                                                      US Food and Drug Administration –
                                                      Office of Criminal Investigations

       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at

9:38
______a.m on March 25, 2020.

                                                      ________________________________
                                                      HONORABLE YOULEE YIM YOU
                                                      United States Magistrate Judge

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